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  11                     UNITED STATES DISTRICT COURT
  12                   SOUTHERN DISTRICT OF CALIFORNIA
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  14    UNITED STATES OF AMERICA,                              CASE NO. 01-CR-3177 W
                                                                        09-CV-1789 W
  15
                           Plaintiff-Respondent,
  16             v.                                            ORDER DENYING
                                                               PETITIONER’S MOTION TO
  17    DENNIS LOUIS ALBA,                                     COMPEL
  18
                           Defendant/Petitioner.
  19
  20         Petitioner Dennis Louis Alba (“Petitioner”), a federal prisoner proceeding pro se,
  21   has filed a motion requesting leave of court to compel Respondent United States of
  22   America to provide Petitioner with a copy of Trial Exhibit No. 900. (Doc. 1192.1) The
  23   Court decides the matter on the papers submitted and without oral argument. See
  24   Civil Local Rule 7.1 (d.1). For the reasons stated below, the Court DENIES Petitioner’s
  25   motion.
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              All docket references refer to Case No. 01-CR-3177.

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   1   I.    BACKGROUND
   2         On July 18, 2003, Petitioner was convicted of Engaging in a Continuing Criminal
   3   Enterprise, 21 U.S.C. § 8848(a); Conspiracy to Manufacture and Distribute Ecstasy, 21
   4   U.S.C. §§ 846, 841(a)(1) and; Money Laundering, 18 U.S.C. 1956(a). On August 13,
   5   2009, Petitioner filed a writ of habeas corpus pursuant to 28 U.S.C. § 2255 alleging
   6   ineffective assistance of counsel. Later, Petitioner filed the pending motion to compel
   7   Respondent to provide Petitioner with a copy of Exhibit 900 from his criminal trial,
   8   pursuant to Rule 6(a) of the Rules Governing § 2255 Proceedings.
   9
  10   II.   DISCUSSION
  11         Rule 6(a) of the Rules Governing § 2255 Proceedings states:
  12
             A judge may, for good cause, authorize a party to conduct discovery
  13         under the Federal Rules of Criminal Procedure or Civil Procedure, or
  14         in accordance with the practices and principles of law.

  15         An identical rule 6(a) is also found in the Rules Governing § 2254 Proceedings.
  16   In Bracy v. Gramley, 520 U.S. 899 (1997)the Supreme Court interpreted this rule and
  17   held that “[a] party shall be entitled to invoke the processes of discovery available under
  18   the Federal Rules of Civil Procedure if, and to the extent that, the judge in the exercise
  19   of his discretion and for good cause shown grants leave to do so, but not otherwise.” Id.
  20   at 903. The Court held that a 2254 petitioner, unlike the usual civil litigant, is not
  21   entitled to discovery as a matter of ordinary course; concluding that “broad discovery
  22   provisions” do not apply in such proceedings. Id. Because Rule 6(a) uses identical
  23   language in both § 2254 and § 2255 proceedings, this Court believes that the Supreme
  24   Court’s reasoning in Bracy applies to the current 2255 case as well.
  25          In the present case, Petitioner fails to provide good cause as to why this Court
  26   should grant his motion to compel. Petitioner’s sole argument is that Exhibit 900
  27   “shows Government Trial [Video] Exhibit No. 309 was available to counsel prior to
  28   trial.” (See Doc. 1192-2, 3:24) This assertion, however, does not explain how the facts

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   1   alleged would provide a basis for relief under his 2255 petition. See Hubanks v. Frank,
   2   392 F.3d 926, 933 (7th Cir. 2004) (explaining that in 2254 proceedings “[g]ood cause
   3   . . . cannot exist where the facts alleged do not provide a basis for relief.”) While his
   4   petition alleges ineffective assistance of counsel, the Petitioner fails to link Exhibit
   5   900—or the availability of Exhibit 309—to his claim that counsel “failed to investigate
   6   available evidence” in preparation of his defense. (Id. at 3:23.)
   7          Moreover, this is the second time Petitioner has filed a motion to “request
   8   production of” Exhibit 900. (Doc. 1153, 2:7.) As explained when denying the previous
   9   motion, Petitioner’s attorney has been provided a copy of every Government Trial
  10   Exhibit, and if Petitioner requires a specific exhibit, he must obtain it from his attorney.
  11
  12   III.   CONCLUSION AND ORDER
  13          In light of the foregoing, the Court DENIES Petitioner’s motion to compel. (Doc.
  14   1192.)
  15
  16          IT IS SO ORDERED.
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       DATED: June 1, 2010
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                                                         Hon. Thomas J. Whelan
  21                                                     United States District Judge
  22   CC: All parties and counsel of record
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